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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


KEITH EDWARDS, as guardian and
conservator for Jerry Blasingame,
                                                        CIVIL ACTION FILE
     Plaintiff,
                                                        No. 1:19-CV-2047-SCJ
v.

OFFICER J. GRUBBS # 6416 and
THE CITY OF ATLANTA,

     Defendants.




                                           ORDER

        This matter is before the Court on Defendants’ Motion for Judgment as a

Matter of Law, which was made orally at the close of Plaintiff’s case-in-chief at

trial. Plaintiff orally opposed the motion. The Parties later filed supporting briefs

on the docket. Doc. Nos. [151]; [152]. 1 The Court orally did not grant the motion

during trial and now enters this Order to perfect the record.




1 All citations are to the electronic docket unless otherwise noted, and all page numbers
are those imprinted by the Court’s docketing software.
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       This action arises out of an incident in which Defendant Officer Jon Grubbs

tased and injured Jerry Blasingame. 2 As relevant here, Plaintiff asserted claims

against Officer Grubbs and the City of Atlanta for violation of his constitutional

rights. Doc. No. [52]. Those claims proceeded to trial. During his case-in-chief,

Plaintiff entered numerous evidentiary exhibits and examined multiple

witnesses, including Officer Grubbs, other employees of the City of Atlanta

Police Department, and witnesses who were qualified as experts in law

enforcement policies and procedure, economics, and healthcare matters.

       At the close of Plaintiff’s case-in-chief, Defendants moved for judgment as

a matter of law under Federal Rule of Civil Procedure 50(a). As to Plaintiff’s claim

against Officer Grubbs, Defendants argued there was no legally sufficient basis

for a jury to find that, under the circumstances presented to him at the time of

incident, Officer Grubbs had used excessive force against Mr. Blasingame.

Defendants also argued that under the record developed in Plaintiff’s case-in-

chief, Officer Grubbs enjoyed qualified immunity. As to Plaintiff’s claim against




2 Plaintiff in this action is Keith Edwards, who is guardian and conservator for Mr.
Blasingame.
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the City of Atlanta, Defendants argued that Plaintiff had not presented enough

evidence to show a pattern, policy, or custom that caused the constitutional

injury alleged such that the City of Atlanta would be liable under Monell.

      Rule 50(a) of the Federal Rules of Civil Procedure provides:

            If a party has been fully heard on an issue during a jury
            trial and the court finds that a reasonable jury would
            not have a legally sufficient evidentiary basis to find for
            the party on that issue, the court may:

                (A) resolve the issue against the party; and

                (B) grant a motion for judgment as a matter of law
                against the party on a claim or defense that, under
                the controlling law, can be maintained or defeated
                only with a favorable finding on that issue.

Fed. R. Civ. P. 50(a)(1). Such a motion “may be made at any time before the case

is submitted to the jury.” Fed. R. Civ. P. 50(a)(2). “If the court does not grant a

motion for judgment as a matter of law made under Rule 50(a), the court is

considered to have submitted the action to the jury subject to the court’s later

deciding the legal questions raised by the motion.” Fed. R. Civ. P. 50(b).

      To grant a motion under Rule 50, the Court must find “‘there is no legally

sufficient evidentiary basis for a reasonable jury to find’ for the non-moving

party.” Chaney v. City of Orlando, 483 F.3d 1221, 1227 (11th Cir. 2007) (quoting


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Lipphardt v. Durango Steakhouse of Brandon, Inc., 267 F.3d 1183, 1186 (11th Cir.

2001)). In considering a Rule 50 motion, the Court focuses on the sufficiency of

the evidence. Id. The Court must consider the evidence in the record “draw all

reasonable inferences in favor of the nonmoving party.” Cleveland v. Home

Shopping Network, Inc., 369 F.3d 1189, 1192–93 (11th Cir. 2004). Credibility

determinations, the drawing of inferences, and the weighing of competing

evidence are functions for the jury, not the Court. Id. at 1193.

       Having considered the evidence in the record up to the end of Plaintiff’s

case-in-chief, the Court denied Officer Grubbs’s request for judgment as a matter

of law and deferred ruling on the City of Atlanta’s request for judgment as a

matter of law. 3

       The Court found that judgment as a matter of law was not appropriate as

to the claim against Officer Grubbs. The Court determined that there was an

evidentiary basis for the jury reasonably to find that Officer Grubbs had used

excessive force against Mr. Blasingame because the record would allow the jury

to find that Mr. Blasingame had not been committing a serious crime before he




3 The Court has also reviewed and considered the supporting briefs. Doc. Nos. [151];
[152]. Those filings do not move the Court to alter its ruling as to the Rule 50(a) motion.
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was tased/ that Officer Grubbs did not fear for his safety/ and that the exigent


circumstances were not otherwise so severe as to permit Officer Grubbs's use of


force. Thus, the Court found that there was an evidentiary basis for a reasonable


jury to find that Officer Grubbs's use of force was necessary under the


circumstances to seize Mr. Blasingame.


      For the foregoing reasons/ the Court DENIED the motion for judgment as


a matter of law under Federal Rule of Civil Procedure 50(a) in regards to Officer

Grubbs. As to the claim against the City of Atlanta, the Court allowed the claim


to be submitted to the jury, subject to the Court later deciding the legal question

raised by the motion. This ruling does not preclude any party from renewing said


motion at the appropriate time.


      The Court DIRECTS the Clerk to terminate the pendency of the motion at

Doc. No. [151].


      IT IS SO ORDERED this 26th day of August/ 2022.



                                         _^"^ c. //,
                                       HONORABLE STEVJ^ C. JONES
                                       UNITED STATES DISTRICT JUDGE
